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   MAYS BUSINESS SCHOOL
   Graduate Programs Office


   Jerry R. Strawser
   Interim Head of the Adam C. Sinn ’00 Department of Finance
   Professor and Associate Dean for Graduate Programs
   KPMG Chair in Accounting
          July 31, 2023

          MEMORANDUM

          TO:                Adam Kolasinski
                             Associate Professor

          THROUGH:           Nate Y. Sharp
                             Dean of Mays Business School

          FROM:              Jerry Strawser
                             Interim Head, Adam C. Sinn '00 Department of Finance

          SUBJECT:           2023-2024 Reappointment Letter for Adam Kolasinski

          In accordance with the University Statement on Academic Freedom, Responsibility, Tenure and Promotion (University Rule
          12.01.99.M1), this letter constitutes your official notification of the terms and conditions of your appointment for the 2023-
          2024 academic year. Your appointment is subject to the rules and regulations of Texas A&M University (TAMU) as well as
          of the Texas A&M System.

          On September 1, 2023, the following will be effective and visible in Workday.
          Faculty Employee Name: Adam Kolasinski
          Faculty Employee UIN: 823003156
          Faculty Rank and Title: Professor
          Tenured/Tenure Track/Academic Professional Track: Tenured
          Employment Term (9, 10 or 11 months): 9
          Full-Time Equivalent (FTE) Percent of Effort: 100
          Raise for Promotion:
          Monthly Base (FTE) Salary:
          Merit adjustments, if approved, will be visible in Workday in the fall and all other salary adjustments, if applicable, for
          the 2023-2024 academic year (e.g., equity adjustments, promotions, and the like) will be available to view in Workday in
          September 2023.

                                                             Effort Assigned
          Employees holding appointment terms of fewer than 12 months are eligible to enroll in Save for Summer and can learn more
          about the plan by following the link https://employees.tamu.edu/payroll/_media/forms/save-for-summer-interactive-
          authorization-form.pdf. If you are currently enrolled, you will automatically renew each fiscal year. To register for the
          program or adjust contributions for the new fiscal year, please submit the authorization form to Payroll Services prior to
          September 1, 2023.

          As a faculty member with a less than 12-month appointment, you are not eligible to accrue or use vacation time but may
          take time off during university holidays and student recesses. Unused days do not carry forward to the next year and unused
          days are not eligible for cash payouts. Sick leave and other benefits will be applied consistent with University policy and
          State law.

          Your teaching load for the 2023-2024 academic year is course sections (or equivalent). The specific course and semester
          assignments will be determined at a later date.


   Wehner Building
   4113 TAMU
   College Station, TX 77843-4113

   Tel. 979.458.6715
   jstrawser@tamu.edu
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         All faculty are expected to participate in service activities to the University, to Mays Business School, and to the
         profession. Additionally, engagement in community service opportunities is encouraged. Additional details of Mays’
         service expectations are listed in the document titled “Guidelines for Faculty Appointment and Evaluations,” available on
         the intranet website of the Faculty Affairs office. A link to that document follows:
         https://facultyaffairs.tamu.edu/dof/media/DOF-Media/Headshots/DOF%20Internal/Mays-Guidelines-For-Faculty-
         Appointments-and-Evaluations-June-7-2022-Final-pdf-correctedByPAVE.pdf

         Service expectations specific to your appointment include: Faculty Senator representing the Mays Business School;
         Department P&T committee, faculty recruiting committee, and PhD student recruiting committee.

         As a Professor, you are expected to generate and disseminate new knowledge consistent with your faculty rank. General
         expectations include active participation in research and scholarship and dissemination through publications/presentations.
         Additional details of Mays’ research expectations are listed in the document titled “Guidelines for Faculty Appointment and
         Evaluations,” available on the intranet website of the Faculty Affairs office. A link to that document follows:
         https://facultyaffairs.tamu.edu/dof/media/DOF-Media/Headshots/DOF%20Internal/Mays-Guidelines-For-Faculty-
         Appointments-and-Evaluations-June-7-2022-Final-pdf-correctedByPAVE.pdf

         Mays Business School’s expectations for holding a tenured/tenure track position include effective undergraduate and
         graduate classroom teaching        courses (or equivalent) per academic year; mentoring and supervision of undergraduate
         and graduate students and postdoctoral students, particularly recruiting and mentoring of doctoral students and guiding
         them through graduation in a timely manner; establishment of a sustainable research program through external funding;
         publication of papers with students in venues that demonstrate impact; contributions to Texas A&M diversity and inclusion
         goals, and providing a degree of service to Texas A&M University and the professional community.

         Other important faculty responsibilities requiring action during the year include:
             • Completing all mandatory training assignments by due date. Per University Rule 12.01.99.M1, failure to complete
                 training will result in an automatic “unsatisfactory” on the annual review.
             • Posting and updating your CV and syllabus.
             • Certifying student attendance in your classes each semester and summer session, including students registered in
                 directed study and research hours.
             • Providing timely submission of midterm and final grades for all course sections, including 485, 685, 491 and 691.

         Other Information
         In addition to your base nine-month salary, you can elect to take up to one month of summer salary from the James Ashton
         Republic Bank Professorship in support of your ongoing research activities. The additional salary payment (plus fringes
         thereon) is subject to the availability of funds in the professorship account and providing that you do not have funding from
         other sources during that time. Also, based upon your exceptional research productivity, you are being awarded a second
         month of summer salary in support of your ongoing research during summer 2024. According to Mays Business School
         policy, the provision of summer salary support from endowed positions during any year is contingent upon your continued
         employment with the Mays Business School at Texas A&M University for the following academic year.

         University Rule 12.01.99.M1 University Statement on Academic Freedom, Responsibility, Tenure and Promotion states that
         faculty members are obligated to fulfill the terms of employment for the following year unless they resign prior to 30 days
         after receiving this notification. For institutional planning purposes, you are requested to inform your department head or
         your unit head no later than May 15, 2024, if you do not wish to be considered for employment for academic year 2024-2025.
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Certificate Of Completion
Envelope Id: F5E4656F61A84C719E90603AA5B69ACE                                                    Status: Completed
Subject: Complete with DocuSign: Kolasinski FY24 Reappointment Letter.pdf
Source Envelope:
Document Pages: 2                                 Signatures: 2                                  Envelope Originator:
Certificate Pages: 2                              Initials: 0                                    Kimberly Scherer
AutoNav: Enabled                                                                                 P.O. Box 1675
EnvelopeId Stamping: Enabled                                                                     Galveston, TX 77553
Time Zone: (UTC-06:00) Central Time (US & Canada)                                                kimberlyscherer@tamu.edu
                                                                                                 IP Address: 47.186.173.222

Record Tracking
Status: Original                                  Holder: Kimberly Scherer                       Location: DocuSign
        7/31/2023 | 01:13 PM                                kimberlyscherer@tamu.edu

Signer Events                                     Signature                                      Timestamp
Jerry Strawser                                                                                   Sent: 7/31/2023 | 01:14 PM
jstrawser@tamu.edu                                                                               Viewed: 7/31/2023 | 01:25 PM
Associate Dean for Graduate Programs                                                             Signed: 7/31/2023 | 01:25 PM
The Texas A&M University System
                                                  Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication
(None)                                            Using IP Address: 128.194.2.136


Electronic Record and Signature Disclosure:
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Dr. Nate Sharp                                                                                   Sent: 7/31/2023 | 01:25 PM
sharpny@tamu.edu                                                                                 Viewed: 7/31/2023 | 01:57 PM
Professor and Department Head                                                                    Signed: 7/31/2023 | 01:58 PM
Mays Business School at Texas A&M University
                                                  Signature Adoption: Uploaded Signature Image
Security Level: Email, Account Authentication
(None)                                            Using IP Address: 128.194.2.248


Electronic Record and Signature Disclosure:
   Not Offered via DocuSign


In Person Signer Events                           Signature                                      Timestamp

Editor Delivery Events                            Status                                         Timestamp

Agent Delivery Events                             Status                                         Timestamp

Intermediary Delivery Events                      Status                                         Timestamp

Certified Delivery Events                         Status                                         Timestamp
Adam Kolasinski                                                                                  Sent: 7/31/2023 | 01:58 PM
akolasinski@tamu.edu                                                                             Viewed: 8/1/2023 | 10:11 AM
Security Level: Email, Account Authentication
(None)
                                                  Using IP Address: 47.186.153.138


Electronic Record and Signature Disclosure:
   Not Offered via DocuSign


Carbon Copy Events                                Status                                         Timestamp
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Carbon Copy Events                              Status                             Timestamp
Kyra Gunn                                                                          Sent: 8/1/2023 | 10:11 AM
kgunn@tamu.edu
The Texas A&M University System
Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign


Witness Events                                  Signature                          Timestamp

Notary Events                                   Signature                          Timestamp

Envelope Summary Events                         Status                             Timestamps
Envelope Sent                                   Hashed/Encrypted                   7/31/2023 | 01:14 PM
Certified Delivered                             Security Checked                   8/1/2023 | 10:11 AM
Signing Complete                                Security Checked                   7/31/2023 | 01:58 PM
Completed                                       Security Checked                   8/1/2023 | 10:11 AM

Payment Events                                  Status                             Timestamps
